                           DECISION OF DISMISSAL
This matter is before the court on Defendant's Motion to Dismiss (motion) on the ground that Plaintiff failed to appeal within the 90 days required by ORS 305.280(2).
A review of Plaintiff's materials shows the Notice of Deficiency Assessment was mailed to Plaintiff on May 20, 2009. The Complaint was filed on August 24, 2009. This interval is longer than the 90 days required by ORS 305.280(2), which provides:
  "An appeal under ORS 323.416 or from any notice of assessment or refund denial issued by the Department of Revenue with respect to a tax imposed under ORS chapter 118, 308, 308A, 310, 314, 316, 317, 318, 321
or this chapter, or collected pursuant to ORS 305.620, shall be filed within 90 days after the date of the notice. An appeal from a proposed adjustment under ORS  305.270 shall be filed within 90 days after the date the notice of adjustment is final."
The court is not aware of any circumstances that extend the statutory limit of 90 days. Defendant's motion is granted. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that Defendant's Motion to Dismiss is allowed. The Complaint is dismissed.
Dated this ___ day of November 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Dan Robinson on November 19,2009. The Court filed and entered this document on November 19, 2009. *Page 1 